
676 P.2d 368 (1984)
67 Or.App. 13
STATE of Oregon, Respondent,
v.
Georgia PETTYPOOL, Appellant.
No. 42007; CA A28754.
Court of Appeals of Oregon.
Submitted on Record and Briefs January 31, 1984.
Decided February 15, 1984.
Steven W. Black and Black &amp; Elliott, Corvallis, filed brief, for appellant.
Dave Frohnmayer, Atty. Gen., James E. Mountain, Jr., Sol. Gen., and Richard D. Wasserman, Asst. Atty. Gen., Salem, filed brief, for respondent.
Before BUTTLER, P.J., and WARREN and ROSSMAN, JJ.
PER CURIAM.
The only error assigned on appeal is that defendant was denied effective assistance of counsel. That claim requires an evidentiary hearing and, except in extraordinary cases, may not be raised on direct appeal. State v. Chase, 51 Or. App. 289, *369 624 P.2d 1100 (1981). Because this is not such a case, the issue must be resolved by habeas corpus proceedings where, as here, defendant has not been convicted of a crime, ORS 138.510(1), but has been found not guilty by reason of mental disease or defect, and the court found that defendant would have been convicted of the crime if she had been found responsible.
Appeal dismissed.
